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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                   (Northern Division)

DAVID J. BOSHEA                               *

        Plaintiff,                            *
                                                    Case No. 1:21-CV-00309-ELH
v.                                            *

COMPASS MARKETING, INC.                       *

        Defendant.                            *

*       *         *    *       *      *       *     *       *      *      *       *      *

              UNOPPOSED MOTION TO EXTEND TIME TO FILE RESPONSE

        David Boshea files this Unopposed Motion to Extend Time to File Response, and in

support states:

1. Compass Marketing, Inc. filed Defendant Compass Marketing, Inc.’s Motion for

     Reconsideration of Order Denying Renewed Motion for Judgment as a Matter of Law or, in

     the Alternative, Motion for Reconsideration of Order Granting a New Trial on All Claims on

     September 5, 2024.

2. Under the Local Rules, David Boshea’s response to the motion is due on September 19, 2024.

3. Due to David Boshea’s counsel’s health issues, David Boshea requests an additional seven (7)

     days to respond to the motion.

4. There exists good cause to extend the response deadline.

5. As required by Local Rule 105.9, David Boshea’s counsel conferred with Compass Marketing,

     Inc.’s counsel before filing this motion, and Compass Marketing, Inc.’s counsel consented to

     an extension of the response deadline.
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      WHEREFORE, for the reasons set forth above David Boshea requests that this Court

extend the deadline for responding to Defendant Compass Marketing, Inc.’s Motion for

Reconsideration of Order Denying Renewed Motion for Judgment as a Matter of Law or, in the

Alternative, Motion for Reconsideration of Order Granting a New Trial on All Claims to

September 26, 2024.



Dated: September 19, 2024                Respectfully submitted,

                                         /s/ Gregory J. Jordan

                                         Gregory J. Jordan (Admitted Pro Hac Vice)
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                                         COUNSEL FOR DAVID J. BOSHEA




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                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on September 19, 2024, the foregoing Motion to Extend
Discovery Deadline was served via the CM/ECF system on the following counsel of record:

       Stephen B. Stern, Bar No.: 25335
       Shannon Hayden
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       Counsel for Defendant
       Compass Marketing, Inc.



                                        /s/ Gregory J. Jordan_______
                                            Gregory J. Jordan




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